Case 1:20-cv-01223-SAG Document1 Filed 05/13/20 moa

 

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Case 1:20-cv-01223-SAG Document1 Filed 05/13/20 Page 4of5 .

 

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